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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

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                                                :
In re: NEURONTIN MARKETING AND                  :
       SALES PRACTICES LITIGATION               :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - x MDL Docket No. 1629
                                                                                              :
THIS DOCUMENT RELATES TO:                                                                     : Master File No. 04-10981
                                                                                              :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - x Judge Patti B. Saris
                                                                                              :
HARDEN MANUFACTURING CORPORATION;                                                             :
LOUISIANA HEALTH SERVICE INDEMNITY COMPANY,                                                   :
dba BLUECROSS/BLUESHIELD OF LOUISIANA; UNION                                                  :
OF OPERATING, LOCAL NO. 68 WELFARE FUND;                                                      :
ASEA/AFSCME LOCAL 52 HEALTH BENEFITS TRUST;                                                   :
GERALD SMITH; and LORRAINE KOPA, on behalf of                                                 :
themselves and all others similarly situated, v. PFIZER INC. and                              :
WARNER-LAMBERT COMPANY.                                                                       :
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THE GUARDIAN LIFE INSURANCE COMPANY OF                                                        :
AMERICA v. PFIZER INC. and                                                                    :
                                                                                              :
AETNA, INC. v. PFIZER INC.                                                                    :
                                                                                              :
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 MEMORANDUM OF LAW OF PFIZER INC. AND WARNER-LAMBERT COMPANY
 IN SUPPORT OF THEIR MOTIONS TO DISMISS THE AMENDED CLASS ACTION
     COMPLAINT AND THE FIRST COORDINATED AMENDED COMPLAINT


                                                                DAVIS POLK & WARDWELL
                                                                450 Lexington Avenue
                                                                New York, NY 10017
                                                                (212) 450-4000

                                                                Attorneys for Defendants Pfizer Inc.
                                                                and Warner-Lambert Company
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       Defendants Pfizer Inc. ( Pfizer ) and Warner-Lambert Company ( Warner-Lambert )

respectfully submit this memorandum of law in support of their motions to dismiss the Amended

Class Action Complaint (the Class Complaint ) and the First Coordinated Amended Complaint

(the Coordinated Complaint ) pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b).

                                 PRELIMINARY STATEMENT

       Plaintiffs in these actions fail in their attempt to convert allegations of off-label

promotion of Neurontin into federal and state law claims involving false statements and fraud.

Plaintiffs spill a considerable amount of ink in the 235 pages that comprise their complaints by

including innumerable and irrelevant names, dates, and locations, yet fail to plead the most basic

facts with respect to critical elements of their claims.

       Plaintiffs assert that defendants made (and caused others to make) false statements to

physicians about Neurontin s effectiveness for certain off-label uses. The complaints, however,

neither allege that Neurontin is ineffective for such uses nor contain facts that would support

such a conclusion. This failure eviscerates plaintiffs conclusory allegations that defendants lied

or misrepresented any material fact. Equally fatal to plaintiffs claims of fraud and deception is

plaintiffs failure to plead facts supporting an allegation of scienter. Even if plaintiffs have pled

off-label promotion, they cannot bootstrap those allegations into a claim of fraud without specific

allegations that would support a finding of intent to defraud.

       Plaintiffs complaints also lack any factual allegation that statements regarding off-label

uses of Neurontin caused plaintiffs to pay for Neurontin. There is no allegation that any alleged

misrepresentations were made to any of the plaintiffs. Moreover, there is simply nothing in the

complaints to connect the alleged off-label promotion to the physicians who wrote prescriptions

that plaintiffs paid for or reimbursed. In fact, there is no allegation that any physician prescribed
                                                   1
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Neurontin without concluding, correctly, that it was an appropriate medical treatment. In

addition to being subject to dismissal on this ground, the third-party payors claims should be

dismissed as too remote because their alleged injuries are derivative of an alleged injury to

another party.

       Furthermore, plaintiffs fail to allege facts indicating that they suffered any legally

cognizable loss. Plaintiffs in these actions do not assert that they suffered any personal injury.

Instead, they seek recovery solely for money used to purchase, or to reimburse others for the

purchase of, Neurontin. By failing to allege that Neurontin is ineffective, plaintiffs cannot allege

that they received anything other than a drug that performed entirely as the prescribing doctors

expected. Plaintiffs cannot possibly be entitled to a nationwide refund of all amounts paid for a

product that was effective. This is all the more true for third-party payors that are required by

statute or contract to reimburse the costs of off-label prescriptions.

       In addition to these fundamental failures, plaintiffs federal racketeering claims should be

dismissed because, among other reasons, the alleged enterprises are nothing more than a

sprawling collection of entities and individuals including up to ten separate corporate entities

and innumerable physicians      who are not alleged to have known of the allegedly fraudulent

nature of the enterprises. Nor have plaintiffs alleged adequately that defendants controlled the

alleged enterprises or committed predicate acts.

       Plaintiffs state consumer fraud claims suffer from additional defects. For instance, the

state statutes under which plaintiffs have elected to proceed do not (and cannot, consistent with

due process) apply extraterritorially to non-residents and, therefore, have no relevance to the

overwhelming majority of plaintiffs in these actions. In fact, the New Jersey statute pursuant to

which the purported class claims are brought does not even provide a cause of action to the third-
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party payors, which clearly fall outside of the category of persons that the statute was intended to

protect.

           Plaintiffs claims are barred for three other reasons. First, imposing liability on

defendants for speech between and among physicians would violate the First Amendment by

restricting the flow of scientific information about prescription drugs. Second, plaintiffs state

law claims are barred by the federal preemption doctrine because they conflict with the robust

federal regulatory regime governing the marketing of prescription medications to physicians.

Third, because plaintiffs have known about the supposed injuries for which they seek recovery

payments for off-label Neurontin use for more than four years before they brought suit, their

claims are time-barred.

                                         STATEMENT OF FACTS

         The complaints seek recovery for payments made for all off-label prescriptions of

Neurontin over a period in excess of ten years. The Class Complaint was brought on behalf of

 [a]ll individuals and entities . . . who . . . paid for Neurontin for indications not approved by the

FDA. (Class Compl. ¶ 255.) This complaint also asserts claims on behalf of two subclasses:

(i) [a]ll private, non-governmental entities . . . that are at risk . . . to pay or reimburse all or part

of the cost of Neurontin prescribed . . . for indications not approved by the FDA, and (ii) [a]ll

individuals . . . who . . . paid for . . . Neurontin, for indications not approved by the FDA. (Id.

¶¶ 256-57.) The Coordinated Complaint was brought by four third-party payors seeking to

recover amounts that they paid for off-label prescriptions of Neurontin.1


         1
            The term third-party payors refers hereafter to the four plaintiffs in the Coordinated Complaint and the
entities that comprise the first subclass in the Class Complaint. The terms consumers refers hereafter to the
individuals that comprise the second subclass in the Class Complaint.


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        The complaints allege that Warner-Lambert (and other members of the purported

enterprises) made false statements to physicians about Neurontin s efficacy for certain off-label

uses. (Class Compl. ¶¶ 4, 45, 128; Coor. Compl. ¶¶ 3, 37, 87.)2 These statements are alleged to

be false because defendants purportedly lacked the type of clinical evidence required by the Food

and Drug Administration (the FDA ) to approve the drug for these uses. (Class Compl. ¶¶ 4,

125, 131, 142, 151, 158, 162, 166, 180, 182, 184; Coor. Compl. ¶¶ 99, 103-04, 121, 127, 130,

141, 142.) The complaints do not allege that (i) defendants claimed that Neurontin was proven

to be clinically effective for any off-label use; (ii) Neurontin was ineffective for any off-label use

or that evidence exists demonstrating its lack of efficacy; (iii) defendants made any statements

regarding Neurontin s efficacy with knowledge that Neurontin was ineffective for the uses in

question; or (iv) defendants made any misrepresentations to third-party payors or consumers.

        The complaints assert that alleged misrepresentations were made to physicians                    not

plaintiffs    in three ways. First, the complaints claim that Warner-Lambert caused the

publication of numerous articles in medical and scientific journals. The complaints identify three

such articles. (Class Compl. ¶¶ 112, 116, 120; Coor. Compl. ¶¶ 80, 109, 118.) The complaints

do not allege that the three cited articles contained misrepresentations regarding Neurontin s

effectiveness for off-label uses. (Class Compl. ¶¶ 112, 116, 120; Coor. Compl. ¶¶ 80, 109, 118.)

The remainder of the allegations relating to publications refers to intended articles that are not

alleged to have been published. (Class Compl. ¶¶ 85, 109, 118-19; Coor. Compl. ¶¶ 72, 79, 108-

09.) Second, the complaints allege that Warner-Lambert induced doctors to make favorable

        2
            The Class Complaint also alleges that defendants committed predicate acts of bribery by allegedly making
payments to physicians to influence them to (i) make positive statements to other physicians regarding Neurontin
and (ii) to increase their prescriptions of Neurontin. (Class Compl. ¶ 210.)


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statements regarding Neurontin at meetings. (Class Compl. ¶¶ 129, 135, 167; Coor. Compl. ¶¶

102, 107, 144.) The complaints provide the names of four doctors who allegedly claimed that

Neurontin was effective for an off-label use. (Class Compl. ¶¶ 129, 135, 167; Coor. Compl.

¶¶ 102, 107, 144.) The complaints do not contain any facts suggesting that such claims, if made,

were untrue or that these physicians or the defendants knew that these statements were false.

The remainder of the allegations relating to statements by physicians merely consist of lists of

meetings at which off-label uses allegedly were discussed. Third, the complaints allege that on

eleven occasions, Warner-Lambert s sales representatives made sales pitches to individual

physicians claiming that Neurontin was effective for an off-label use. (Class Compl. ¶¶ 134,

148, 156, 171, 181; Coor. Compl. ¶¶ 106, 119, 124, 140.) No facts are set forth as to the identity

of the sales representatives or the physicians. Further, no facts are alleged setting forth the

knowledge or mental state of any of the unnamed sales representatives at the time that they

allegedly made the statements.

       Both complaints purport to allege the existence of an overarching enterprise the Off-

Label Promotion Enterprise and the Promotion Enterprise comprised of defendants and seven

to ten vendors (including marketing firms and publishers) as well as twenty-eight named, and

innumerable unnamed, physicians. (Class Compl. ¶¶ 104, 273; Coor. Compl. ¶¶ 95, 191.) The

complaints assert that the purpose of the alleged enterprise was to aid in marketing Neurontin

for off-label uses, which purportedly allowed Defendants to reap unlawful and unfair profits.

(Class Compl. ¶¶ 4, 271; see, e.g., Coor. Compl. ¶¶ 192, 205, 218.) Plaintiffs allege that this

enterprise pursued a scheme to provide favorable information on the off-label use of Neurontin

through meetings and publications. (Class Compl. ¶ 44; see Coor. Compl. ¶ 30.) The complaints

aver that the vendors knew that the programs did not provide fair and balanced drug
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information and [t]he participating physicians knew that failure to provide fair and balanced

information meant the information the attending physicians received would be false and

misleading. (Class Compl. ¶ 56; see also Coor. Compl. ¶ 98.)

       Both complaints assert claims under the Racketeer Influenced and Corrupt Organizations

Act ( RICO ) and for unjust enrichment. (Class Compl. ¶¶ 264-303, 317-22; Coor. Compl. ¶¶

189-300, 323-26.) The Class Complaint brings additional claims under the New Jersey

Consumer Fraud Act (the NJCFA ) and for common law fraud, both of which are also based on

alleged misrepresentations. (Class Compl. ¶¶ 304-09, 310-16.) The Coordinated Complaint

asserts additional claims pursuant to the Pennsylvania Insurance Fraud Statute, California s

Unfair Competition Law (the UCL ), and the consumer fraud statutes of the remaining forty-

nine states, the District of Columbia, and the Commonwealth of Puerto Rico, all of which are

also based on allegations of fraud. (Coor. Compl. ¶¶ 313-22, 301-07, 308-12.)

                                          ARGUMENT

I.     PLAINTIFFS FAIL TO ALLEGE THAT DEFENDANTS MADE
       ANY FALSE STATEMENTS OR ACTED WITH SCIENTER

       The heart of plaintiffs complaints is that defendants and physicians made allegedly

fraudulent statements regarding the effectiveness of Neurontin for certain off-label uses in

medical journals, in large meetings attended by other physicians, and during one-on-one sales

pitches in doctors offices. Yet, plaintiffs fail to allege facts demonstrating that any statement

regarding Neurontin actually was false or was made with the intent to defraud. For these

reasons, plaintiffs claims under RICO (based upon alleged predicate acts of mail and wire




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fraud), common law fraud, the Pennsylvania Insurance Fraud Statute, the NJCFA, and the UCL

should be dismissed for failure to plead false statements and scienter.3

         The complaints in these actions allege that Warner-Lambert and physicians paid by the

company made false statements suggesting that Neurontin is effective for certain, specified off-

label uses.4 Significantly, however, plaintiffs never actually assert that these statements are

actually or objectively false because they do not allege that Neurontin is, in fact, ineffective for

these off-label uses. Nor do they set forth any facts that could support such an allegation.

         To attempt to overcome this deficiency             which is fatal to their claims       plaintiffs assert

that every statement regarding effectiveness implies that clinical trials have been conducted that

demonstrate efficacy in a manner that would satisfy the FDA. As plaintiffs explain:

         In the context of describing properties of approved prescription drugs, the terms
          effective and efficacy have specific and well-understood meanings. Because
         the FDA will only find a pharmaceutical to be effective if the proposed use is
         supported by substantial evidence consisting of well designed, well controlled
         clinical trials that establish a causal relationship to a statistically significant
         degree, 21 U.S.C. § 355(d), a statement that a drug is effective, or works, or
          has been proven to is understood to mean that well controlled clinical studies
         support the use. To make such a statement without clinical proof is misleading.

(Coor. Compl. ¶ 99; see also Class Compl. ¶ 125.)

         This explicit attempt to use the FDA s drug approval standard as the benchmark for

analyzing the veracity of all statements made regarding Neurontin s effectiveness for off-label


         3
           See In re: Lupron(R) Mktg. & Sales Practices Litig., 295 F. Supp. 2d 148, 165 (D. Mass. 2003) (RICO);
Doyle v. Hasbro, Inc., 103 F.3d 186, 193 (1st Cir. 1996) (common law fraud); Danca v. Taunton Sav. Bank, 429
N.E.2d 1129, 1132-33 (Mass. 1982) (same); 18 Pa. C.S. 4117(a)(2) (Pennsylvania Insurance Fraud Statute). In
addition, all of plaintiffs consumer fraud claims, including those under the NJCFA and the UCL, are based on
allegations of false statements and intent to defraud. (Class. Compl. ¶¶ 304-09; Coor. Compl. ¶¶ 302-12.)
         4
           These alleged misrepresentations relate to the following eight off-label uses: pain, restless leg syndrome,
diabetic peripheral neuropathy, social phobia, panic disorder, migraine headache, monotherapy, and bipolar
disorder.


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conditions fails as a matter of law. A statement is false if it is untrue. Black s Law Dictionary

618 (7th ed. 1999). Accordingly, statements that Neurontin is effective are not actionable as

false statements unless plaintiffs plead that Neurontin is ineffective, which they have not done.

       Plaintiffs reliance on the FDA standard also defies common sense. Plaintiffs nowhere

allege that defendants claimed that Neurontin was proven to be clinically effective for any off-

label use. A claim that Neurontin is effective is obviously materially different from a claim that

Neurontin has been clinically proven to be effective. The attempts by plaintiffs to conflate the

two must fail, especially because plaintiffs do not and cannot allege any facts to support the

assertion that physicians assume that every statement by another physician regarding efficacy is

always based on clinical trials as opposed to other information, such as their own experience

treating their own patients.

       Under the relevant laws pursuant to which their claims have been brought, plaintiffs must

also allege that defendants acted with scienter. As the Supreme Court has explained, scienter

 refers to a mental state embracing intent to deceive, manipulate, or defraud. Ernst & Ernst v.

Hochfelder, 425 U.S. 185, 193 n.12, 96 S. Ct. 1375, 1381 n.12 (1976). The only fact alleged

in support of plaintiffs conclusory scienter allegations is that defendants were motivated by

money. (Class Compl. ¶¶ 4, 20; Coor. Compl. ¶ 2.) Courts repeatedly have rejected this fact

in a number of contexts as wholly insufficient to support a claim of fraudulent intent. See, e.g.,

Wells Fargo Bank Northwest v. Taca Int l Airlines, 247 F. Supp. 2d 352, 365 (S.D.N.Y. 2002)

( [A] generalized profit motive that could be imputed to any for-profit company, is insufficient

for purposes of inferring scienter. ); Productores Asociadoes de Café Rio Claro v. Barnett, No.

98 Civ. 499, 1999 WL 287389, at *4 (S.D.N.Y. May 7, 1999) ( [G]eneralized motives which


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could be imputed to any publicly-owned, for-profit endeavor, [are] . . . not sufficiently concrete

for the purposes of inferring scienter.         (citations omitted)).

         Plaintiffs allege that one way in which Warner-Lambert is liable is through funding the

publication of articles in medical and scientific journals. Specifically, plaintiffs allege that the

purported RICO enterprises caused numerous articles and promotional pieces to be published in

medical literature throughout the country misrepresenting the safety, efficacy, effectiveness and

usefulness of Neurontin to treat a variety of off-label conditions. (Coor. Compl. ¶ 31; see also

Class Compl. ¶ 43.) Yet, plaintiffs only identify a total of three published articles in their

complaints and nowhere do they allege that these articles falsely claimed that Neurontin was

effective for off-label uses. (Class Compl. ¶¶ 112, 116, 120; Coor. Compl. ¶¶ 80, 109, 118.)

Nor do plaintiffs allege that the authors of these articles intended to defraud anyone. In fact, the

authors of the articles (Drs. Pollack, Gorson, Mellick, and Mellick) are not even alleged to be

among the physicians who purportedly participated in the alleged RICO enterprises. (Class.

Compl. ¶ 104; Coor. Compl. ¶ 95.)5

         With respect to statements made by physicians at meetings, plaintiffs fail to allege that

any such statement actually was false or was made with scienter. As an initial matter, plaintiffs

allege that only four physicians claimed that Neurontin is effective for an off-label use. (Class

Compl. ¶¶ 129, 135, 167; Coor. Compl. ¶¶ 102, 107, 144.) Not one of these physicians

statements is alleged to be actually false. For example, while plaintiffs allege that one physician


         5
          Unable to allege scienter or to identify any false statements, plaintiffs allege that defendants engaged in
 ghostwriting, a practice which they claim gave the false impression that the article was unbiased and not
sponsored by the drug manufacturer. (Coor. Compl. ¶ 31; see also Class Compl. ¶ 45.) Plaintiffs have not alleged
and cannot allege, however, that defendants were legally required to ensure that sponsorship by defendants was
disclosed or that any such duty was owed to plaintiffs.


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(Dr. Longmire) stated that Neurontin was effective for the treatment of pain (Coor. Compl.

102; Class Compl. ¶ 129), there is no allegation that Neurontin is not effective for pain. Nor do

plaintiffs plead that Dr. Longmire made this statement with actual knowledge to the contrary or

with an intent to defraud. The same holds true of the two physicians (Drs. Harden and LeRoy)

who allegedly claimed jointly at a meeting that Neurontin is effective as monotherapy for the

treatment of epilepsy (Class Compl. ¶ 167; Coor. Compl. ¶ 144), as well as of the physician (Dr.

Nicholson) who allegedly stated that patients             will have their burning sensations relieved with

the use of Neurontin (Class Compl. ¶ 135; Coor. Compl. ¶ 107).6 All that is alleged with respect

to the numerous other meetings listed in the complaints is that off-label uses were discussed.

(See, e.g., Class Compl. ¶¶ 150, 157; Coor. Compl. ¶¶ 120, 126.)

         Plaintiffs likewise fail to allege adequately that Warner-Lambert s sales representatives

made statements regarding efficacy that were actually false or that were made with an intent to

defraud. (Class Compl. ¶¶ 134, 148, 156, 171-72, 181; Coor. Compl. ¶¶ 106, 119, 124, 140,

147.) Plaintiffs complaints include eleven occasions on which sales representatives allegedly

said to physicians that Neurontin was effective for a specific off-label use. Plaintiffs do not

identify the sales representatives or the physicians as required under Rule 9(b). Instead,

plaintiffs allege, for example, that an unnamed sales representative stated that Neurontin was

 [e]ffective for many types of chronic pain (Coor. Compl. ¶ 106; Class Compl. ¶ 134) and that

another stated that Neurontin was [e]ffective treatment of bipolar disorder (Coor. Compl.

¶ 124; Class Compl. ¶ 156). Nowhere, however, do plaintiffs allege that Neurontin was, in fact,
         6
           In addition to these four doctors, one other physician is alleged to have claimed that pain specialists are
finding that low dosages of Neurontin are effective and another is alleged to have made similar statements. (Class
Compl. ¶ 129; Coor. Compl. ¶ 102.) These statements are likewise not actionable, given the failure to plead
contrary facts and scienter.


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ineffective for these conditions or that the sales representatives made these alleged statements

with scienter. Thus, even if plaintiffs could prove that one of Warner-Lambert s sales

representatives actually made such statements to a physician, absent proof of falsity or intent to

defraud, the statements constitute, at most, non-fraudulent off-label promotion.

       The failure of plaintiffs to come forward with any facts to support their allegations of

false statements and scienter, despite having access to all of the discovery in United States ex rel.

Franklin v. Parke Davis, No. 96 Civ. 11651 (D. Mass.), strongly weighs in favor of dismissal

with prejudice, not only for failure to plead fraud with particularity pursuant to Rule 9(b), but

also for failure to state a claim pursuant to Rule 12(b)(6).

II.    PLAINTIFFS FAIL TO PLEAD FACTS ESTABLISHING CAUSATION

       A.      All of Plaintiffs Claims Fail To Satisfy
               Traditional Elements of Proximate Causation

       Plaintiffs fail to plead any causal link between the alleged misconduct and their purported

injuries. All of plaintiffs claims require causation to be alleged. Under RICO, plaintiffs must

allege with heightened particularity that defendants acts were the proximate cause of their

alleged injury. See Holmes v. Sec. Investor Prot. Corp., 503 U.S. 258, 266 n.11, 112 S. Ct. 1311,

1317 n.11 (1992). Plaintiffs consumer fraud claims under New Jersey and California law and

insurance fraud claims under Pennsylvania law require a showing of causation. See Fink v.

Ricoh Corp., 839 A.2d 942, 958-59 (N.J. Super. Ct. 2003); In re Firearm Cases, 24 Cal. Rptr. 3d

659, 671-72 (Ct. App. 2005); 18 Pa. C.S.     4117(g). Similarly, plaintiffs common law fraud and

unjust enrichment claims require proof of causation. See Damon v. Sun Co., 87 F.3d 1467, 1472

(1st Cir. 1996) (common law fraud); Commonwealth of Mass. v. Mylan Labs., No. Civ.A. 03-

11865-PBS, 2005 WL 352556, at *7 (D. Mass. Feb. 4, 2005) (unjust enrichment).

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       Plaintiffs fail to plead causation because they do not allege facts demonstrating a link

between the conduct alleged and their payments for Neurontin. In fact, no allegation connects

the alleged fraud to any off-label prescriptions. For example, there are no allegations that

consumers Gerald Smith or Lorraine Kopa were prescribed Neurontin as a result of their doctors

being exposed to any of the alleged misconduct. (Class Compl. ¶¶ 9-10.) Nor do the third-party

payors allege any facts demonstrating that they paid for prescriptions written by doctors as a

result of the alleged misconduct. In fact, plaintiffs blithely devote only a single paragraph in

each of the complaints to causation. (Class Compl. ¶ 249; Coor. Compl. ¶ 183.)

       Where courts have considered claims that false representations caused physicians to write

unneeded prescriptions or otherwise artificially inflated the demand for prescription medications,

they have held that plaintiffs may not plead or prove causation through a fraud-on-the-market

theory. See, e.g., Heindel v. Pfizer, Inc., No. CIV.A. 02-3348(SRC), 2004 WL 1398024, at *14-

15 (D.N.J. June 7, 2004) (finding under New Jersey and Pennsylvania law that such a causation

theory was patently absurd in the context of pharmaceutical drug promotion); N.J. Citizen

Action v. Schering-Plough Corp., 842 A.2d 174, 178 (N.J. Super. Ct. 2003) (noting that fraud-

on-the-market theory would virtually eliminate the requirement that there be a connection

between the misdeed complained of and the loss suffered ). In fact, no court has accepted the

fraud-on-the-market theory outside of the securities context. See Summit Props. v. Hoechst

Celanese Corp., 214 F.3d 556, 561 (5th Cir. 2000). Such courts have ruled that actual proof of

causation is required. See, e.g., Fink, 839 A.2d at 958 ( While reliance need not be proven under

the NJCFA, plaintiffs must nevertheless demonstrate that each class member read one or more of

the advertisements upon which plaintiffs rely and that one or more of the false advertising and

material factual concealments that they allege were contained therein constituted a proximate
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cause of an ascertainable loss of money or property. ); Oliveira v. Amoco Oil Co., 776 N.E.2d

151 (Ill. 2002).

       Moreover, even if the alleged misrepresentations had been made directly to consumers,

causation could not be established. Because the alleged claims were made within a highly

regulated industry in which the ultimate consumer is not in fact free to act on claims in

advertising in any event, the relationship between words used in the advertising and purchase of

the product is at best an attenuated one. N.J. Citizen Action, 842 A.2d at 178 (explaining

significance of the intervention by a physician in the decision-making process necessitated by

his or her exercise of judgment whether or not to prescribe a particular medication ).

       Plaintiffs complete failure to connect the alleged misconduct to payments that plaintiffs

made for Neurontin is grounds for dismissal.

       B.      The Third-Party Payors Have Failed
               To Plead Causation Under RICO

       The third-party payors RICO claims must also be dismissed on causation grounds for the

additional reason that they are too remote. The proximate causation requirement under RICO is

 more stringent than those of most states and in practice, [courts] have held RICO plaintiffs to

a more stringent showing of proximate cause than would be required at common law. Desiano

v. Warner-Lambert Co., 326 F.3d 339, 348 (2d Cir. 2003). In order to comply with this tougher

proximate causation requirement, plaintiffs must allege some direct relation between the injury

asserted and the injurious conduct alleged. Holmes, 503 U.S. at 268. This directness

requirement is independent of and in addition to the other traditional elements of proximate

cause. Laborers Local 17 Health & Benefit Fund v. Philip Morris, Inc., 191 F.3d 229, 235 (2d

Cir. 1999); see also Holmes, 503 U.S. at 268.

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        The third-party payors do not and cannot allege that they were directly injured by

defendants alleged conduct. Because their claims are derivative of and dependent upon more

direct injuries allegedly inflicted upon a third party, they fail as a matter of law. See, e.g.,

Laborers Local 17, 191 F.3d at 238-29 ( [T]he critical question posed by the direct injury test is

whether the damages a plaintiff sustains are derivative of an injury to a third party. If so, then

the injury is indirect; if not, it is direct. ); R.I. Laborers Health & Welfare Fund ex rel. Trs. v.

Philip Morris, Inc., 99 F. Supp. 2d 174, 177 (D.R.I. 2000) ( [T]he federal appellate courts are

unanimous in ruling that the principles of proximate cause and remoteness of injury preclude

health funds from recovering damages for injuries which are wholly dependent upon the actions

of more directly injured parties. ). As the Sixth Circuit explained, from a procedural

standpoint, a RICO case with a derivative-injury problem is better suited to dismissal on the

pleadings than a RICO case with a traditional proximate-cause problem. Trollinger v. Tyson

Foods, Inc., 370 F.3d 602, 615 (6th Cir. 2004). Because all of the third-party payors RICO

claims flow from the alleged deception of their insureds doctors, those claims must be dismissed

as too remote.

III.    PLAINTIFFS FAIL TO ALLEGE A COGNIZABLE INJURY

        All of plaintiffs claims should be dismissed because plaintiffs do not allege an actual

loss. The complaints do not claim that any plaintiff suffered a personal injury as a result of

taking Neurontin. Instead, plaintiffs seek recovery solely for alleged economic losses. Yet,

plaintiffs allege neither that Neurontin failed to perform as expected by the prescribing

physicians nor that patients failed to receive exactly what they paid for: a prescription drug

approved by the FDA as adjunctive therapy for epilepsy and prescribed by the physicians for a

different, off-label use. In fact, plaintiffs do not even allege that Neurontin failed to work for
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those off-label uses for which it was prescribed. In the absence of such allegations, plaintiffs

have suffered no actual loss.

        Numerous courts considering very similar consumer protection claims have recognized

explicitly the necessity of alleging an actual loss.7 See In re Rezulin Prods. Liab. Litig., 210

F.R.D. 61, 68 (S.D.N.Y. 2002); Williams v. Purdue Pharma Co., 297 F. Supp. 2d 171 (D.D.C.

2003). For example, in In re Rezulin Products Liability Litigation the court held that despite

allegations of promotional misconduct, to show loss in a nationwide consumer protection

action, consumers would need to demonstrate that the drug did not work. 210 F.R.D. at 68.

Similarly, in Williams, the D.C. District Court held that [w]ithout alleging that a product failed

to perform as advertised, a plaintiff has received the benefit of his bargain and has no basis to

recover purchase costs. 297 F. Supp. 2d at 176. Because plaintiffs do not allege that Neurontin

was ineffective, allowing them to collect damages would grant them a windfall. See Gustafson

v. Bridgestone/Firestone, Inc. Tires Prods. Liab. Litig., 288 F.3d 1012, 1017 (7th Cir. 2002) ( If

tort law fully compensates those who are physically injured, then any recoveries by those whose

products function properly means excess compensation. ), cert. denied, 537 U.S. 1105 (2003);

Day v. AT&T Corp., 74 Cal. Rptr. 2d 55, 64-65 (Ct. App. 1998). This rationale applies equally

to plaintiffs RICO, fraud, and unjust enrichment claims.


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           This is an explicit requirement of both the UCL and the NJCFA. See In re Rezulin Prods. Liab. Litig,
Judicial Council Coordination Proceeding No. 4122 (slip op.) (Cal. Sup. Ct. Apr. 29, 2003) (finding that without an
allegation that Rezulin was ineffective, there was no remediable loss under the UCL); Day v. AT&T Corp., 74 Cal.
Rptr. 2d 55, 64-65 (Ct. App. 1998) (stating that in the absence of a measurable loss the [UCL] does not allow the
imposition of a monetary sanction ); Collins v. Safeway Stores, Inc., 231 Cal. Rptr. 638, 643 (Ct. App. 1986)
(noting that the inability to prove loss or harm necessarily renders an action without merit ); Smith v. SBC
Communs., Inc., 839 A.2d 850, 856 (N.J. 2004) ( [The NJCFA] created a private cause of action only for victims
of consumer fraud who have suffered an ascertainable loss. ). A copy of the slip opinion from In re Rezulin
Products Liability Litigation is attached at Exhibit A to the Declaration of David Chaffin, dated March 17, 2005
( Chaffin Decl. ).


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